




NO. 07-09-0100-CV



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL C



MAY 5, 2009

______________________________



GRACE EMILY ARCHER, M.D.,



Appellant



V.



PETERSON FARRIS MOSS PRUITT &amp; PARKER, P.C.,

f/k/a PETERSON FARRIS DOORES &amp; JONES, P.C.

and CHARLES E. MOSS,



Appellees



_________________________________



FROM THE 108th DISTRICT COURT OF POTTER COUNTY;



NO. 91,411-E; HONORABLE DOUGLAS WOODBURN, PRESIDING

_______________________________



ORDER DISMISSING APPEAL

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
_______________________________



Before QUINN, C.J., and HANCOCK and PIRTLE, JJ.

Appellant, by and through her attorney, has filed a motion to dismiss. Without passing on the merits of the case, we grant the motion pursuant to Texas Rule of Appellate Procedure 42.1(a)(1) and dismiss the appeal. &nbsp;Having dismissed the appeal at appellant’s request, no motion for rehearing will be entertained, and our mandate will issue forthwith.





Brian Quinn

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Chief Justice


